     Case 5:11-cr-00023-MW-GRJ     Document 305     Filed 10/11/11   Page 1 of 1




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION



UNITED STATES OF AMERICA,

             Plaintiff,
v.                                            CASE NO. 5:11-cr-23(4)-RS

JACK ALLEN KELLY, et al.,

          Defendants.
_________________________________/


                                     ORDER

       Before me is Defendant’s unopposed motion to extend time (Doc. 301). The

presentence report was filed on September 20, 2011. Defendant’s motion was not

filed until October 6, 2011. Defendant has offered no reason why he was unable to

receive a copy of and respond to the presentence report within the time allotted by

Fed. R. Crim. Pro. 32(f). Defendant shall file any objections to the presentence

report not later than October 12, 2011.



ORDERED on October 11, 2011.

                                          /S/ Richard Smoak
                                          RICHARD SMOAK
                                          UNITED STATES DISTRICT JUDGE
